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lN THE UNITED sTATEs l)IsTRlCT CoURT F |;,_E[J _
FoR THE DISTRICT oF MAssACHUsETTS m t:t_.ERitS UF F |CE
JAMES A. srANLEY and mm 931 -8 A q= 314

DENISE M. STANLEY
'J_';S. [llSll'{lCl CUURl

Plai“tiffs» msraict uF MAss.
v. C,A. 04-l l376WGY
Al\/l ERIQUEST MORTGAGE
COMPANY
Defendant.
ANSWER
lNTRODUCTION

l. Paragraph l of the complaint is a conclusory statement to which no response is
required. To the extent a response is required, defendant, Ameriquest Mortgage
Company (hereinafter Ameriquest) denies the allegations contained in paragraph
l of the complaint and calls on Plainti ff to prove same.

2. Paragraph 2 of the complaint contains a statement of law to which no response is
required. To the extent that a response is required, Ameriquest denies the
allegations contained in paragraph 2 of the complaint and calls on Plaintiff to
prove same

3. Paragraph 3 of the complaint contains a statement of law to which no response is
required To the extent that a response is required, Ameriquest denies the
allegations contained in paragraph 3 ot` the complaint and calls on Plaintiff to
prove same..

PARTIES

4. Arneriquest is without knowledge or information sufficient to form a belief as to
the truth of the allegations contained in paragraph 4 of the complaint

5. Ameriquest admits that it’s principle place of business is at 1100 Town and
County Road, Suite 900, Orange, CA 92808. Ameriquest denies the balance of
the allegations in paragraph 5, and calls on plaintiff to prove same.

6. Ameriquest states the references in paragraph 6 are so vague and ambiguous that
Ameriquest is unable to admit or deny the allegations contained in paragraph 6 of
the complaint To the extent a response is required, Ameriquest denies the
allegations contained in paragraph 6 of the complaint and calls on plaintiff to
prove same.

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lO.

ll.

13.

14.

l5.

Arneriquest states the references in paragraph 7 are so vague and ambiguous that
Ameriquest is unable to admit or deny the allegations contained in paragraph 7 of
the complaint To the extent a response is required, Arneriquest denies the
allegations contained in paragraph 7 of the complaint and calls on plaintiff to
prove same.

Ameriquest states the references in paragraph 8 are so vague and ambiguous that
Ameriquest is unable to admit or deny the allegations contained in paragraph 8 of
the complaint To the extent a response is required, Ameriquest denies the
allegations contained in paragraph 8 of the complaint and calls on plaintiff to
prove same.

FACTS

Ameriquest admits that Plaintiff obtained a loan from Ameriquest on or about
June 14, 2002. Ameriquest is without knowledge or information sufficient to
form a belief as to the rest of the allegations contained in paragraph 9 of the
complaint

Ameriquest is without knowledge information sufficient to form a belief as to the
allegations contained in paragraph lO of the complaint

Ameriquest is without knowledge information sufficient to form a belief as to the
allegations contained in paragraph ll of the complaint

. Denied. By way of further answering Ameriquest states it provided the Notice of

Right to cancel which we attached hereto as Exibit A.

Ameriquest denies the allegations contained in paragraph 13 of the complaint and
calls on plaintiff to prove same.

Admi`ttecl.
COUNT I - TRUTH IN LENDING ACT

Ameriquest repeats and realleges its responses to paragraphs l-l4 and
incorporates them herewith.

. Denied.

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17. Paragraph 17 of the complaint contains a statement of law to which no response is
required To the extent that a response is required, Ameriquest denies the
allegations contained in paragraph 17 of the complaint and calls on Plaintiff to
prove same.

18. Paragraph 1 of the complaint contains a statement of law to which no response is
required. To the extent that a response is required, Ameriquest denies the
allegations contained in paragraph 18 of the complaint and calls on Plainti ff to
prove same.

FIRST AFFIRMATIVE DEFENSE
The Plaintiffs’ Complaint fails to state a claim upon which relief can be granted.
SECOND AFFIRMATIVE DEFENSE
The Plaintiffs are barred from recovery by his own unclean hands.

THIRD AFFIRMATIVE DEFENSE

Any alleged damages or injuries suffered by the Plaintiffs, if any, are the result of their
own conduct, actions and omission

FOURTH AFFIRMATIVE DEFENSE
The Plaintiffs have suffered no cognizable damages
FlFTH AFFIRMATIVE DEFENSE
The Plaintiffs’ claims against Ameriquest are barred by the doctrine of laches
SIXTH AFFIRMATIVE DEFENSE

The Plaintiffs are estopped to advance their claims against Ameriquest. And the
Plaintiffs’ recovery is based upon recoupment and setoff in favor or Ameriquest.

SEVENTH AFFIRMATIVE DEFENSE
Any alleged damages or injuries suffered by the Plaintiffs is the result of the conduct,

actions, omissions and statements of persons or entities other than Ameriquest and for
whom and for Which Ameriquest is not legally responsible or liable

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EIGHTH AFFIRMATIVE DEFENSE
The Plaintiffs failed to mitigate their damages, if any.
NINTH AFFIRMAT]VE DEFENSE

The Plaintiffs are barred from maintaining this action based upon the doctrine of waiver,
release and acquiescence

TENTH AFFIRMAT]VE DEFENSE
At all times relevant hereto, Ameriquest acted reasonably and in good faith.
ELEVENTH AFFlRMATIVE DEFENSE
The Plaintiffs’ claims are barred by the applicable statue of limitations
TWELVTH AFFIRMATIVE DEFENSE

The Plaintiffs’ claims must be dismissed because any actions taken by Ameriquest were
performed in accordance with law.

THIR'I`EENTH AFFIRMATIVE DEFENSE

The Plaintiffs’ claims must be dismissed because the alleged acts or omissions of
Ameriquest were done With the actual or implied consent of the Plaintiff.

FOURTEENTH AFFIRMATIVE DEFENSE

The Plaintiffs’ claims must be dismissed because the alleged acts or omissions of
Ameriquest did not cause the Plaintiffs any damages alleged or otherwise

FIFTEENTH AFFIRMATIVE DEFENSE

The Plaintiffs’ Complaint fails to state a claim under the F ederal 'f ruth in Lendin g Act,
15 U.S.C. §§ 16()1, et. Seq.

SIXTEENTH AFF_IRl\/IATIVE DEFENSE

The Plaintiffs’ Complaint fails to state a claim under the Massachusetts Consumer Credit
Cost Disclosure Act, G.L. c. 14OD, §§ 1 et seq.

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SEVENTEENTH AFFIRMATIVE DEFENSE

The Plaintiffs executed a document that was entitled “lmportant Notice to Borrower(s),”
in which the Plaintiffs acknowledge that:

Oral agreements promises or commitments to lend money, extend credit, or
forebear from enforcing repayment of a debt, including promises to extend,
modify, renew or waive such debt, are not enforceable To protect you
(Borrower(s)) and us (Lender) from misunderstandings or disappointments, any
agreements we have reached covering this loan transaction are contained in the
loan documents you have signed today. Your loan documents are the complete
statement of the loan agreement reached between us. Any subsequent agreement
between us regarding this loan must be a signed writing to be legally enforceable

EIGHTEENTH AFFI RATIVE DEFENSE

Pursuant to the “Notice of F‘.ight to Cancel” provided by Ameriquest to the Plaintiffs, the
Plaintiffs had a mandatory three (3) day period in which to reconsider the Ameriquest
Loan and cancel the loan if they chose The Plaintiffs chose not to exercise this right

NINETEENTH AFFIRMATIVE DEFENSE

In addition to signing the “Notice of Right to Cancel_,” referenced in the preceding
Affirmative Defense, the Plaintiffs also executed a “One Week Cancellation Period”
document which extended the cancellation period to one week after the date the load
documents were signed The Plaintiffs were specifically advised that this additional
period was designed to give the Plaintiffs “more time to study your load documents,
obtain independent advice and/or shop for a loan that you believe suit you better. .
Notwithstanding, the Plaintiffs elected not to exercise his right to cancel. The Plaintiffs
executed the “One Week Cancellation Period” document

TWENTIE'I`H AFFIRMATIVE DEFENSE

By executing the “Important Notice to Borrower(s)” document the Plaintiffs
acknowledged that they had been given an opportunity to read the load documents, that
they had in fact read them, and that they fully understood the terms of the Amen`quest
Loan transactionl

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TWENTY-FIRST AFFIRMATIVE DEFENSE

The Plaintiffs were specifically advised in writing in the loan documents relating to the
Ameriquest Loan that: “The responsibility of the attorney for the Lender is to protect the
interest of the Mortgagee. The Mortgagor may at his own expense, engage an attorney of
his own selection to represent his own interests in this transaction.” Ameriquest cannot
be liable for any alleged damages arising out of the Plaintiffs’ decision to close the loan
transactions without legal representation And, as such, the Plaintiffs’ claims are barred
by the Parole Evidence Ruie.

TWEN'I`Y-SECOND AFFIRMATIVE DEFENSE

Ameriquest affirmatively pleads contributory and/or comparative fault and negligence of
the Plaintiffs herein; and any damages to which the Plaintiffs would otherwise be entitled
to recover herein should be reduced pro rata in accordance with the Plaintiffs’ own such
negligence proximately contributing to the Plaintiff`s alleged injuries and/or damages

TWENTY-THIRD AFFIRMATIVE DEFENSE

The Plaintiff`s claims against Ameriquest are barred by their failure to add an
indispensable party.

TWENTY-FOURTH AFF[RMATIVE DEFENSE

The Plaintiff` s claims against Ameriquest are barred by the doctrine of equitable
subordination

TWENTY-FIFTH AFFIRMATIVE DEFENSE
The Plaintiffs’ claims against Ameriquest are barred by the doctrine of unjust enrichment

Ameriquest reserves the right to plead such other affirmative defenses as become known
or apparent during the course of discovery and the right to amend its answer accordingly

WHEREFORE, the Defendant, Ameriquest Mortgage Company, respectfully requests
that this Court deny the relief requested by the Plaintiffs; dismiss this action_. with
prejudice; assess all costs, expenses fees, attorneys’ fees, together with interest against
the Plaintiffs and provide such other and all other relief that the Court deems reasonable
and proper.

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Respectfully submitted,

AMERIQUEST MORTGAGE COMPANY
By his attomey,

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C- ' <_ ,/'
Victor Manougian
BBO #547808
Korde & Associates, PC
321 Billerica Road
Suite 210
Chelmsford, MA 01824-4100

Dated: October 7_, 2004

CERTIFICATE OF SERVICE

I, Victor Manougian, hereby certify that l have this day served a copy of the within
Answer by First Class Mail, upon the following:

Christopher M. Lefebure
P.O. Box 479
Pawtucket, RI 02862

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Dated: October 6_, 2004 `Victor Manougian

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NOTICE OF RiGHT TO CANCEL

 

LENDER: Ameriquest Mongage Company DATE; June 14, 2002
LOAN NO..' 0036719532- 5609
TYF'E: ADJLJSTAELE RATE
BORROWER{S): James A. Slanley Denise M. Stanley

ADDFZESS.' 12 E Slreet
ClTY/'STATEIZIPZ HUl_l_,MF-. 02045

PRDPERTY: 1.'ZEStreet
HULL, MA 02045

You are entering into a transaction that will result in a mongage/llen/securlty interest on your home. You have a legal
right under federal law to cancel this transaction without cost, within THREE BUSlNESS DAYS from whichever of the
following events occurs tast:

1. The date of the transaction which is ; or

 

 

2. The date you received your `l'rulh in Lending disclosures; or
3. The date you received this notice of your right to cance|.

lf you cancel the transaction, the inortgageflienfsecurity interest is also cancelled Within 20 CALENDAR DAYS after we

home has been cancelled and we must return to you any money or property you have given to us or anyone else in
connection with this transactionl

You may keep any money or property we have given you until we have done the things mentioned above, hut you must
then offer to return the money or property. lf it is impractical or unfair for you lo return the property you must offer its
reasonable value. You may offer to return the property at your home or at the location of the property Money must be
returned lo the address below. lfwe do not take possession of the money or property within 20 CALENDAR DAYS of your
offer, you may keep it without further obligation

 

 

HOW TO CANCEL

if you decide to cancel this transaction, you may do so by notifying us ln writing, at:

Ameriquest Mortgage Company AT|'N: FUNDING
1100 Town and Country Rd, Sulta 200 PHONE: (7'14) 541-5960
Orange, Callfornla 92868 FAX: {7'14) 245-0357

¥ou may use any written statement that is signed and dated by you and states your intention to cance|, or you may use
this notice by dating and signing below. Keep one copy of this notice because it contains important information about
your rlghts.

 
 

      

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) 9

(orMiDNlGl-lT of the THlRD BLlSlNESS DAY following the latest of the three events listed above). if you send or deliver
your written notice to cancel some other way, it must be delivered to the above address no later than that llme.
lWlSH TO CANCEL

  

ll' you cancel by mail or telegram, you must
send the notice no later than MtDNlGi-lT of

 

 

 

 

 

sloNAiuRE "D'Ft“i?"_"" l

 

The undersigned each acknowledge receipt of two copies of this NOTlCE OF RlGH'l` TO CANCEL and one copy of the
Feoeral Truth in tending Disciosure litatement. all given by lender in compliance with Truth in tending Simpliiication and
Refonn Act of 1980 (Public l_aw 96-2;21).

Each borrower in this transaction has the right lo cancei. The exercise of this right by one borrower shall be effective to all borrowersl
QIZ»Q_¢¢LW § é’%j//OZ
o ROWER!OWNERDei-iiss M. stanley r’ l foam

BQRROWER|'DWNER Data §ORROWERIOWNER Dnls

 

 

 

 

imunc(hn SM) LENDER copy

 

